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ATTORNEYS AT AW

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February 4, 2019

Honorable Thomas I. Vanaskie
JAMS, Inc.

1717 Arch Street

Philadelphia, PA 19103

Re: Consumer Financial Protection Bureau v. Navient Corp., et al. — No. 17-101

Dear Judge Vanaskie:

The parties filed status reports on Friday, January 25, ahead of the status conference on
Monday, January 28. In its status report, the CFPB for the first time re-framed the dispute
regarding the parties’ privilege logs as whether the Discovery Order “contains an exhaustive list
of fields that should be used to adequately assert privileges.” Defendants’ first opportunity to
respond occurred during the status conference. Defendants respectfully submit this letter to
provide further context for the dispute.

Defendants have not claimed that the Discovery Order sets forth the only information that
should be provided to support the parties’ privilege assertions. Instead, Defendants’ position has
been that the Discovery Order details the requirements for a privilege log sufficient for the
receiving party to assess and challenge the producing party’s privilege assertions. Rather than
challenge specific privilege assertions, however, the CFPB has challenged the sufficiency of
Defendants’ log almost in its entirety, asking Defendants to re-review tens of thousands of
documents.

As Your Honor noted, the Federal Rules have in mind the just, speedy and inexpensive
determination of every action and proceeding. Fed. R. Civ. P. 1. In particular, Rule 26(f) was
amended to direct the parties to confer “as soon as is practicable” regarding the discovery of
electronically stored information (“ESI”), including “any issues about claims of privilege.” Fed.
R. Civ. P. 26(£)(1), ((3)(D). Such a “discussion at the outset may avoid later difficulties or ease
their resolution.” Rule 26(f) Advisory Committee Note to the 2006 amendments. Experts
therefore suggest that parties agree ahead of time to “make use of protocols, processes, tools, and
technologies to reduce the costs and burdens” associated with making privilege assertions in
cases with voluminous ESI discovery. See 17 Sedona Conf. J. 101, 154-72; Hon. John M.
Facciola and Jonathan M. Redgrave, Asserting and Challenging Privilege Claims in Modern
Litigation: The Facciola-Redgrave Framework, 4 Fed. Cts. L. Rev. 19, 44-50 (2009). To that
end, Defendants and the CFPB conferred and agreed to a detailed discovery protocol that
detailed the requirements of the privilege logs in this matter.

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On April 25, 2017, Defendants sent the CFPB a draft ESI protocol that set forth the same
information listed in paragraphs (a)-(h) of the Discovery Order, including that such information
be “extracted in an automated fashion via available metadata.” The next day, the parties held a
Rule 26(f) conference and discussed the proposed protocol. Two days later, Defendants sent a
revised draft incorporating comments from the discussion. Three months later, on July 28, 2017,
the CFPB responded with proposed revisions, including a revision that the parties “may use a
categorical log,” and that if using a traditional log, the information “may be extracted in an
automated fashion via available metadata.” The CFPB did not propose any additions to
paragraphs (a)-(h). Ultimately, the parties submitted the proposed Discovery Order to the Court,
Doc. 66-2. The Court acknowledged the parties’ agreement and stated that it would “enforce [it]
as:such.” Doc. 67.

Defendants relied on the Discovery Order when drafting the review protocol provided to
the attorneys conducting the privilege review and when training those attorneys. The review
protocol and the coding in Defendants’ review database anticipated the production of a
categorical privilege log and automated reliance on metadata. Over 100 attorneys spent over
41,000 hours reviewing documents for privilege in reliance upon the Discovery Order.
Defendants initially produced a categorical log as contemplated in the Discovery Protocol.
When the CFPB asked for more information than provided by the categorical log, Defendants
provided the log that conformed to the agreed-upon requirements for a traditional privilege log

(paragraphs (a)-(h)).

The CFPB now asks the Court to disregard the Discovery Order and the CFPB’s prior
agreements, claiming that “the items listed for a traditional log are not sufficient to satisfy any
privilege assertion.” Doc. 199 at 2. The CFPB asserts that a sufficient privilege log should
“meet the elements set forth in the case law.” As an initial matter, Defendants’ privilege log
does provide information to assess the elements of the claimed privileges. For example, the
elements of the attorney-client privilege are “(1) a communication (2) made between privileged
persons (3) in confidence (4) for the purpose of obtaining or providing legal assistance for the
client.” In re Teleglobe Comms. Corp., 493 F.3d 345, 359 (3d Cir. 2007). Defendants’ log
provides information regarding whether communications are made among privileged persons for
the purpose of obtaining or providing legal assistance for Defendants and their affiliates. Where
the CFPB has had questions about third parties who appear on the log, Defendants have
explained why such third parties do not implicate the disclosure rule.

Moreover, the time for the CFPB to raise this issue was when the parties were discussing
the privilege log requirements that they ultimately agreed to in the Discovery Order. It would be
contrary to the Federal Rules to allow the CFPB to go back on its bargain after the Defendants
expended vast resources in reliance on the parties’ agreement. In particular, the CFPB is now
expecting Defendants to re-review documents to provide sender and recipient information
beyond what can “be extracted in an automated fashion via available metadata,” and to identify
the specific lawsuits at issue, even though that does not appear as a requirement in the stipulated
Discovery Order. In response to the CFPB’s demands, Defendants are providing additional
sender and recipient information for threaded emails, but nothing more should be required.
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The “nearly 15,000 documents” cited by the CFPB as requiring additional information
about the specific lawsuit at issue is an overstatement. Defendants also asserted the attorney-
client privilege over all but about 6,600 of these documents. Even if the work product claims
failed, those documents are nonetheless protected. In addition, Defendants’ log already provides
the specific lawsuit for the vast majority of work product claims. For example, emails sent
during the CFPB’s pre-lawsuit investigation have email subjects such as “CFPB Follow-Up
Questions,” “Navient AG/CEPB Investigation,” and “CFPB Data Requests.” Others involve
exchanges with outside counsel who represented Defendants in this investigation, including
WilmerHale. Together, around 5,550 of the 6,600 work-product-only claims (more than 80%)
were clearly prepared for purposes related to this investigation. See, e.g., Ex. 1. The litigation at
issue is also obvious in some of the remaining entries. See, e.g., Ex. 2 at entries 3592 (email
with the subject “Document Preservation Notice for Ubaldi Class Action”), 5167 (email from the
Education Department with the subject “FW: Please contact your servicers: Litigation Hold --
anticipated litigation on Section 504 accessibility for borrowers”), and 7759 (email with subject
“Grinage v. Pioneer”). Others are clearly litigation reports and summaries prepared for
presentation by in-house counsel. For the remaining 915 entries for which the litigation is not
clearly identifiable, Defendants are willing to review them and provide further information.

In sum, Defendants relied on the parties’ agreement and the Discovery Order when
reviewing and logging an extraordinary volume of documents in this litigation. The agreed upon
requirements for the traditional privilege log detailed in the Discovery Order should not be
modified at this late stage and the CFPB should be required to identify particular entries and
justify its position that there is good cause to require Defendants to provide additional
information to support the assertion of privilege. Defendants will continue to provide additional
information for those entries.

Respectfully, :

 

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Exhibit 1

 
 

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